IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,
v. No. 21-3054-01-CR-S-MDH
DYLAN J. HANGER,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Teresa A. Moore, United States Attorney, and Josephine L. Stockard,
Assistant United States Attorney, and the defendant, Dylan J. Hanger (“the defendant’),
represented by Ian Lewis.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2s Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
Count | of the indictment, charging him with a violation of 18 U.S.C. § 1111, that is, murder in
the second degree. By entering into this plea agreement, the defendant admits that he knowingly

committed this offense, and is, in fact, guilty of this offense.

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page1of13
3 Factual Basis for Guilty Plea. The parties agree that the facts constituting the
offense to which the defendant is pleading guilty are as follows:

On or about May 20, 2020, in the Western District of Missouri, the defendant DYLAN J.
HANGER, on the premises of the Ozark National Scenic Riverways, a place within the special
maritime and territorial jurisdiction of the United States as defined in Title 18, United States Code,
Section 7(3), did, with malice aforethought, unlawfully kill Brittany Gorman, in violation of Title
18, United States Code, Section 1111.

On May 20, 2020, the defendant met his estranged wife, Brittany Gorman at Buck Hollow,
which is a river access on the Ozark National Scenic Riverways (OZAR) and within the special
maritime and territorial jurisdiction of the United States. National Park Service lands were ceded
under concurrent legislative jurisdiction within the State of Missouri, under House Bill 1768,
General Assembly of the State of Missouri. This included OZAR so long as the lands within the
designated areas are dedicated to park purposes. RSMo. § 12.025. The United States Department
of the Interior accepted this grant of jurisdiction by sending a letter to the Governor of the State
of Missouri.

At Buck Hollow, Gorman and the defendant argued about their children and their federal
stimulus check. While they were there, the defendant stabbed Gorman several times in the chest,
which caused her death. When the defendant stabbed Gorman, he had the intent, at the time of a
killing, to willfully take the life of Gorman, or an intent willfully to act in callous and wanton
disregard of the consequences to human life, and as a result, Gorman died.

4, Use of Factual Admissions and Relevant Conduct. The defendant
acknowledges, understands and agrees that the admissions contained in paragraph 3 and other
portions of this plea agreement will be used for the purpose of determining his guilt and advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the
calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The
defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts
of the indictment, as well as all other uncharged, related criminal activity, may be considered as

“relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the

charge to which he is pleading guilty.

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 2 of13
35 Statutory Penalties. The defendant understands that, upon his plea of guilty to
Count 1 of the indictment, charging him with murder in the second degree, the maximum penalty
the Court may impose is not more than life imprisonment, not more than five years’ supervised
release, a $250,000 fine, and a $100 mandatory special assessment per felony count of conviction,
which must be paid in full at the time of sentencing. The defendant further understands that this
offense is a Class A felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

cy in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of up to five years;

d. if the defendant violates a condition of his supervised release, the
Court may revoke his supervised release and impose an additional period of
imprisonment of up to years without credit for time previously spent on supervised
release. In addition to a new term of imprisonment, the Court also may impose a
new period of supervised release, the length of which cannot exceed five years, less
the term of imprisonment imposed upon revocation of the defendant’s first
supervised release;

cs the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f. any sentence of imprisonment imposed by the Court will not allow
for parole;

3

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 3of13
g. the Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

t Government’s Agreements. Based upon evidence in its possession at this time,
the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against the defendant for any federal criminal
offenses related to murder in the second degree for which it has venue and which arose out of the
defendant’s conduct described above. Additionally, the United States Attorney for the Western
District of Missouri agrees to dismiss Count 2 at sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation
of the dismissed or additional charges against him if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional

charges are initiated against him following a breach of this agreement. The defendant further

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 4of13
understands and agrees that, if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character and conduct
of the defendant, including the entirety of his criminal activities. The defendant understands these
disclosures are not limited to the count to which he has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel, and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(1)(4) of the Federal
Rules of Criminal Procedure.

0. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that, if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his plea of guilty.

5

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page5of13
10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

b. The applicable Guidelines section for the offense of conviction is
USS.G. §2A1.2;

ie. The parties have no agreements with respect to any enhancements
or reductions, other than the reduction outlined below;

d. The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1(b)
of the Sentencing Guidelines. The Government, at the time of sentencing, will file
a written motion with the Court to that effect, unless the defendant: (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

S There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

f. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

g. The defendant understands that the Court may impose any sentence
authorized by law, including any sentence outside the applicable Guidelines range
that is not “‘unreasonable:”

h. The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s

6

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 6 of 13
sentence, including the determination of any mandatory minimum sentence

(including the facts that support any specific offense characteristic or other

enhancement or adjustment), and any legally authorized increase above the normal

statutory maximum. The defendant waives any right to a jury determination beyond

a reasonable doubt of all facts used to determine and enhance the sentence imposed,

and waives any right to have those facts alleged in the indictment. The defendant

also agrees that the Court, in finding the facts relevant to the imposition of sentence,

may consider any reliable information, including hearsay; and

i The defendant understands and agrees that the factual admissions

contained in paragraph 3 of this plea agreement, and any admissions that he will

make during his plea colloquy, support the imposition of the agreed upon

Guidelines calculations contained in this agreement.

Ld. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that, if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by the defendant to be sentenced pursuant to the new Guidelines will make this plea
agreement voidable by the United States at its option. If the Government exercises its option to
void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all
criminal charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by the defendant at
the sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the indictment;

7

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 7 of 13
c oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentence imposed, and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,
acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

c, the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against him;

&. the right to compel or subpoena witnesses to appear on his behalf;
and

f. the right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that, by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that, if he pleads guilty, the Court
may ask him questions about the offense to which he pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, his answers may later be used against
him in a prosecution for perjury or making a false statement. The defendant also understands that

he has pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 8 of 13
ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold
public office, or serve on a jury.
LS. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that, by
pleading guilty pursuant to this plea agreement, he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct; and

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of: (1) ineffective assistance
of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does nor include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offense or the
victim’s estate to which the defendant is pleading guilty. The defendant agrees that
the Court may order restitution in connection with the conduct charged in any
counts of the indictment which are to be dismissed and all other uncharged, related
criminal activity;

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine;

e The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control,
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full;

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 9of13
d. Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

€. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

t The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing;

h. The defendant certifies that he has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future; and

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered plea of guilty shall remain in effect and cannot be
withdrawn.

10

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 10 of 13
17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

 

directly or by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that, in the event he violates this plea
agreement, all statements made by him to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads
from such statements or testimony, shall be admissible against him in any and all criminal
proceedings. The defendant waives any rights that he might assert under the United States
Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the
Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by him subsequent to this plea agreement.

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Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 11 of 13
20. Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys, or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and the defendant acknowledge and
agree that the above stated terms and conditions, together with any written supplemental agreement
that might be presented to the Court in camera, constitute the entire plea agreement between the
parties, and that any other terms and conditions not expressly set forth in this agreement or any
written supplemental agreement do not constitute any part of the parties’ agreement and will not
be enforceable against either party.

22: Standard of Interpretation. The parties agree that, unless the constitutional

 

implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

12

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 12 of 13
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

Teresa A. Moore
United States Attorney

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Dated: pS fae. Josephine L. Stockard
Assistant United States Attorney
Missouri Bar No. 63956

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the indictment. Further, | have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. J have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea

agreement and I voluntarily agree to it.
Ae J. Hanger =

Defendant

Dated:

 

I am defendant Dylan J. Hanger’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the indictment. Further, I have reviewed with him the provisions
of the Sentencing Guidelines which might apply in this case. I have carefully reviewed every part
of this plea agreement with him. To my knowledge, Mr. Hanger’s decision to enter into this plea
agreement is an informed and voluntary one.

Dated: S 1D 2 J A ,

an Lewis
Attorney for Defendant

   

Case 6:21-cr-03054-MDH Document 34 Filed 05/10/22 Page 13 of 13
